     Case: 1:17-md-02804-DAP Doc #: 5231 Filed: 10/27/23 1 of 2. PageID #: 624062




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        City of Independence, Missouri v. Williams1RRS WK&LUFXLW 

        City of Rochester v. Purdue Pharma, L.P.1RRS QG&LUFXLW

        County of Webb, Texas v. Purdue Pharma, L.P.1RRS WK&LUFXLW

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